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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                            CRIMINAL FILE NO.
         v.                                 1:10-CR-251-10-TWT
 ARTIS LISBON
 also known as
 Bebe,
   Defendant.


                                       ORDER

      This is a criminal     action.   It is before the Court on the Report and

Recommendation [Doc. 682] of the Magistrate Judge recommending denying the

Defendant’s Motion to Vacate Sentence [Doc. 650 & 651]. For the reasons set forth

in the thorough and well-reasoned Report and Recommendation, the Defendant has

not shown deficient performance or prejudice in connection with trial counsel’s advice

regarding the Defendant’s decision not to testify.

      SO ORDERED, this 28 day of July, 2016.



                                 /s/Thomas W. Thrash
                                 THOMAS W. THRASH, JR.
                                 United States District Judge
